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David L. Mortensen (#8242)
David.Mortensen@stoel.com
Jordan C. Bledsoe (#15545)
Jordan.Bledsoe@stoel.com
STOEL RIVES LLP
201 S Main Street, Suite 1100
Salt Lake City, UT 84111
Telephone: (801) 328-3131
Facsimile: (801) 578-6999

Attorneys for Plaintiff Xat.com Limited


                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION

                                          PLAINTIFF XAT.COM
 XAT.COM LIMITED,                         LIMITED’S MOTION TO STRIKE
                                          DEFENDANT HOSTING
           Plaintiff,                     SERVICES, INC. A/K/A
                                          100TB.COM’S REPLY IN
 v.                                       SUPPORT OF SHORT FORM
                                          DISCOVERY MOTION
 HOSTING SERVICES, INC. A/K/A
 100TB.COM,                               Case No. 1:16-cv-00092
           Defendant.
                                          Chief Magistrate Judge Paul M.
                                          Warner

                                          Mediator: Magistrate Judge Dustin B.
                                          Pead




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         Defendant Hosting Services, Inc. a/k/a 100TB.com (“100TB”) filed a reply

in support of its short form discovery motion (the “Reply”). See Dkt. No. 84. But

DUCivR 37-1, which governs procedure for discovery disputes, does not permit a

party to file a reply in support of a short form discovery motion. Accordingly,

plaintiff Xat.com Limited (“Xat”) requests that the Court strike the Reply.

Alternatively, Xat requests that it be allowed to address misrepresentations in the

Reply through further briefing (i.e., a surreply), see DUCivR 37-1(a)(7)(C), or

during a hearing, see DUCivR 37-1(a)(7)(A).

         DATED: October 11, 2018.
                                              STOEL RIVES LLP


                                              /s/ David L. Mortensen
                                              David L. Mortensen
                                              Jordan C. Bledsoe

                                              Attorneys for Plaintiff Xat.com Limited




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                            CERTIFICATE OF SERVICE

         I hereby certify that on October 11, 2018, I caused a true and correct copy of

the foregoing to be served by CM/ECF and electronic mail to:

         Patricia W. Christensen
         PARR BROWN GEE & LOVELESS
         101 South 200 East, Suite 700
         Salt Lake City, Utah 84111
         pchristensen@parrbrown.com

         David M. McMillan
         Paul G. Karlsgodt
         BAKER & HOSTETLER LLP
         1801 California Street
         Denver, Co 80202
         dmcmillan@bakerlaw.com
         pkarlsgodt@bakerlaw.com




                                                /s/ Robin Noss




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